16-13500-mkv   Doc 398-2   Filed 03/15/18 Entered 03/15/18 14:56:07   Exhibit A.
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                                 EXHIBIT A
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

    In re:
                                                                   Chapter 11

    GRACIOUS HOME LLC, et al., 1                                   Case No.: 16-13500 (MKV)

                                                                   (Jointly Administered)
                                                       Debtors.


             ORDER AUTHORIZING DEBTOR TO ISSUE SUBPOENA DIRECTING
                  EXAMINATION AND PRODUCTION OF DOCUMENTS

             The Official Committee of Unsecured Creditors (the “Committee”) in the cases of the

above captioned debtors and debtors-in-possession (the “Debtors”) filed a motion (the “Motion”)

for an order seeking authorization for the Committee to issue subpoenas on Dorothy Mattison

(the “Deponent”), pursuant to rule 2004 of the Federal Rules of Bankruptcy Procedure (“Rule

2004”), (a) directing the production for inspection and copying records of documents related to

the issues identified in Exhibit “B” to the Motion, and (b) directing the appearance and

submission to an oral examination to be taken under oath of the Deponent regarding the

categories of testimony identified in Exhibit “B” to the Motion; the Court having jurisdiction to

consider the Motion and relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334;

and sufficient notice having been provided; and the Court having found and determined that the

relief sought in the Motion is in the best interest of the Debtors and their estates; and the legal



1
         The Debtors in these chapter 11 cases and the last four digits of their tax identification numbers are:
Gracious Home LLC (6822); Gracious Home Holdings LLC (3251); Gracious Home Payroll LLC (3681); GH East
Side LLC (3251); GH West Side LLC (3251); GH Chelsea LLC (3251) and Gracious (IP) LLC (3251). The latter
four entities are disregarded for tax purposes and do not have their own tax identification numbers, but use that of
Gracious Home Holdings LLC. The address of the Debtors’ corporate headquarters is 1210 Third Avenue, New
York, New York 10021.
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and factual bases set forth in the Motion having established just cause for the relief granted

herein; and after due deliberation and sufficient cause appearing therefor,

          IT IS HEREBY ORDERED THAT:

               1.      The relief requested in the Motion is GRANTED to the extent set forth

herein.

               2.      The Committee may issue a subpoena or subpoenas directing the

Deponent to produce documents relating to the categories of information described in Exhibit

“B” to the Motion.

               3.      The Deponent shall produce the documents (including electronically

stored information) in its possession, custody or control referenced in categories of information

described in Exhibit “B” to the Motion not later than 20 days after the service of such subpoena,

the Motion and a copy of this Order, to be delivered to Seward & Kissel LLP, One Battery Park

Plaza, New York, NY 10004, attention John R. Ashmead (the Movant’s counsel).

               4.      The Committee may issue a subpoena or subpoenas directing the

Deponent to appear for an examination under oath to testify at the location identified in the

subpoenas or subpoenas authorized by this Order or at such other location to be agreed upon by

Movant’s counsel.

               5.      The production and examination required hereby are subject to any

applicable privilege; provided, that if production of a document required to be produced hereby

is withheld on the basis of an asserted privilege, the Deponent shall provide a proper privilege

log to the Movant’s counsel at the time of document production hereunder.




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                6.     The Deponent shall, prior to conducting an electronic search utilizing

search terms, meet and confer with the Movant’s counsel to attempt to agree on appropriate

search terms.

                7.     All disputes concerning Rule 2004 Subpoenas, including objections

thereto, that are not resolved by agreement of the parties may be raised only by letter brief to the

Court not exceeding five pages, single spaced. The other party shall file a responsive letter brief

within three business days, which shall not exceed five pages, single spaced. Copies of such

letter briefs shall also be emailed to the Court’s chambers.

                8.     To the extent necessary, the Debtors’ rights are reserved to request

additional examinations or documents under Bankruptcy Rule 2004 based on any information

that may be revealed as a result of the discovery obtained pursuant to this Order.

                9.     This Court retains jurisdiction to resolve all matters arising under or

related to this Order, and to interpret, implement, and enforce the provisions of this Order.




DATED: _________________, 2018
      New York, New York                                       _____________________________
                                                               The Honorable Mary Kay Vyskocil
                                                               United States Bankruptcy Judge




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